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IN THE UNITED STATES DISTRICT COURTEASTERN DISTRICT ARKANSAS
EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

UNITED STATES OF AMERICA j Yo

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JEREMY DONTE CRAIG J

TWO-LEVEL SAFETY VALVE VARIANCE STIPULATION

The United States Attorney for the Eastern District of Arkansas, Cody Hiland, by and
through Benecia B. Moore, Assistant United States Attorney, and JEREMY DONTE CRAIG,
the defendant, represented by the undersigned counsel, hereby agree to the following variance
stipulation:

1. On December 21, 2018, Section 402 of the First Step Act of 2018 amended the
“safety valve” provision of Title 18, United States Code, Section 3553(f), so that a defendant
with up to four (4) criminal history points, excluding 1-point offenses, may now eligible to be
sentenced below any applicable mandatory statutory minimums, as long as the defendant meets
the other four (4) criteria and does not have a prior 2-point “violent offense” or a prior 3-point
offense.

2. The United States Sentencing Guidelines (USSG) also contain a “safety valve”
provision in Section 5C1.2, which - when coupled with USSG Section 2D1.1(b)(18) - allows a
defendant to receive a two-level decrease in the defendant’s offense level if the defendant meets
certain enumerated criteria.

3, Historically, the criteria for Section 3553(f)’s “safety valve” provision and the

USSQ’s “safety valve” provision have been the same. However, the criteria for the USSG’s

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“safety valve” provision have not yet been amended to reflect the changes made by the First Step
Act to Section 3553(f)’s “safety valve” provision.

4. Therefore, notwithstanding any other provision in the Plea Agreement regarding a
variance, if the court finds the defendant meets the “safety valve” criteria listed in Title 18,
United States Code, Section 3553(f), as amended by the First Step Act, then the defendant may
seek a two-level downward variance without objection by the United States. If the defendant
receives a variance as described above, then the defendant hereby waives the defendant’s right to
appeal the defendant’s sentence under Title 18, United States Code, Section 3582(c), in the event
the United States Sentencing Guidelines are later amended to reflect the changes made to Section
3553(f) by the First Step Act.

DATED this 24th day of June, 2020.

CODY HILAND
United States Attorney

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By: Typ Abbaye

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MEA ELLEN FOWLER
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